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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


                                              )
 UNITED STATES OF AMERICA,                    )
                                              )      Criminal Case No. 22-cr-00007-LKG
 v.                                           )
                                              )      Dated: January 17, 2023
 MARILYN J. MOSBY,                            )
                                              )
        Defendant.                            )
                                              )

                                            ORDER
       For the reasons stated in the Court’s memorandum opinion dated January 17, 2023, and
during the hearing held in this matter on January 17, 2023, the Court finds that Defense Counsel
Bolden VIOLATED Local Rule 204 by:

      (1) Disclosing confidential responses to the Court’s juror questionnaire in the
          Defendant’s September 29, 2022, Filing;
       (2) Making certain extra-judicial statements during a press conference held on September
           14, 2022; and
       (3) Using profanity during the September 14, 2022, press conference.

       The Court also finds that Defense Counsel Bolden VIOLATED Local Rule 201 by
submitting the September 29, 2022, Filing without the signature of Maryland Defense Counsel.

       For these reasons, it is ORDERED that, during the pendency of this criminal matter:

       1.     Defense Counsel Bolden SHALL NOT file any filings in this matter
              unless the filing is also signed by a Defense Counsel who is an active
              member in good standing of the Bar of this Court.
       2.     Defense Counsel Bolden SHALL NOT present argument to the Court
              unless a Defense counsel who is an active member in good standing of the
              Bar of this Court is also present at any court proceedings.
       Local Rule 204.6 provides that any violation of this Rule may be treated as a contempt of
court and may subject the violator to disciplinary action of the Court. L.R. 204.6. The Court
concludes that any finding of contempt based upon Defense Counsel Bolden’s violations of
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Local Rule 204 would involve the imposition of criminal contempt sanctions under Cromer.
Given this, Defense Counsel Bolden will be afforded notice of the alleged violations, an
opportunity to be heard, and the protections that the Constitution requires, before the Court
imposes any criminal contempt sanctions. And so, it is further ORDERED that:

       Defense Counsel Bolden shall SHOW CAUSE, in writing, on or before January 31,
2023, as to why the Court should not:

   (1) Impose criminal contempt sanctions;

   (2) Make a criminal referral to the United States Attorney’s Office for this District pursuant
       to Fed. R. Crim P. 42; and/or

   (3) Revoke Defense Counsel Bolden’s pro hac vice admission in United States v. Marilyn J.
       Mosby, 22-cr-0007.

IT IS SO ORDERED.



                                                  s/Lydia Kay Griggsby
                                                  LYDIA KAY GRIGGSBY
                                                  United States District Judge




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